            Case 4:11-cv-06636-CW Document 136 Filed 06/02/14 Page 1 of 5



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14 Attorneys for Defendant and Counterclaim Plaintiff

15                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
16                                     OAKLAND DIVISION
17 ASUSTEK COMPUTER INC. and ASUS              )
   COMPUTER INTERNATIONAL,                     )
18                                             )        Civil Action No. 4:11-cv-06636-CW
        Plaintiffs,                            )        JURY TRIAL DEMANDED
19                                             )
        v.                                     )
20                                             )
   ROUND ROCK RESEARCH, LLC and                )        STIPULATION OF DISMISSAL
21 SAMSUNG ELECTRONICS CO., LTD.,              )
                                               )
22       Defendants.                           )
     ROUND ROCK RESEARCH, LLC,                 )
23                                             )
              Counterclaim Plaintiff,          )
24                                             )
              v.                               )
25                                             )
   ASUSTEK COMPUTER INC. AND                   )
26 ASUS COMPUTER INTERNATIONAL,                )
                                               )
27            Counterclaim Defendants.         )
                                               )
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     STIPULATION OF DISMISSAL                                               Case No. 4:11-cv-6636-CW
            Case 4:11-cv-06636-CW Document 136 Filed 06/02/14 Page 2 of 5



 1            Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), ASUS Computer International

 2 and ASUSTeK Computer Inc. (collectively, “ASUS”) and Round Rock Research LLC (“Round

 3 Rock”), having settled their disputes in these actions, hereby stipulate to dismissal of all claims and

 4 counterclaims in this action.      The claims of ASUS are dismissed without prejudice.                 The

 5 counterclaims of Round Rock are dismissed with prejudice. Each side shall bear its own costs,

 6 expenses, and attorneys’ fees.

 7            PURSUANT TO STIPULATION, IT IS SO ORDERED.                      All pending motions are

 8 terminated.

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10            Dated: 6/2/2014                                      __________________________

11                                                                  United States District Judge

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     STIPULATION OF DISMISSAL                         1                              Case No. 4:11-cv-6636-CW
            Case 4:11-cv-06636-CW Document 136 Filed 06/02/14 Page 3 of 5



 1 DATED: May 30, 2014                            Respectfully submitted,
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     STIPULATION OF DISMISSAL                 2                              Case No. 4:11-cv-6636-CW
            Case 4:11-cv-06636-CW Document 136 Filed 06/02/14 Page 4 of 5



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                                                              Defendant
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11
              Filer’s Attestation: Pursuant to General Order No. 45, I attest under penalty of perjury that
12
     concurrence in the filing of this document has been obtained from each signatory hereto.
13

14            Dated: May 30, 2014                            Respectfully submitted,
15
                                                             /s/ Andrew G. Hamill
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     STIPULATION OF DISMISSAL                            3                              Case No. 4:11-cv-6636-CW
            Case 4:11-cv-06636-CW Document 136 Filed 06/02/14 Page 5 of 5



 1                                       CERTIFICATE OF SERVICE

 2        The undersigned hereby certifies that on the 30th day of May, 2014, the foregoing document
 3 was caused to be served via the Court’s CM/ECF System per Local Rule 5-5(b) on the following:

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17 Dated: May 30, 2014                                    /s/ Andrew G. Hamill

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     STIPULATION OF DISMISSAL                                                    Case No. 4:11-cv-6636-CW
